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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ,
   HANNAH PEARCE, MARCUS MARTIN,
   NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and
   THOMAS BAKER,

                          Plaintiffs,

   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOTT KLINE a/k/a ELI MOSLEY,        Civil Action No. 3:17-cv-00072-NKM
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, LOYAL WHITE KNIGHTS
   OF THE KU KLUX KLAN, and EAST
   COAST KNIGHTS OF THE KU KLUX
   KLAN a/k/a EAST COAST KNIGHTS OF
   THE TRUE INVISIBLE EMPIRE,

                          Defendants.



                PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF THEIR
                MOTION FOR EVIDENTIARY SANCTIONS AGAINST
                DEFENDANT ELLIOTT KLINE A/K/A ELI MOSLEY
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                                  PRELIMINARY STATEMENT

         Since December 6, 2019, when Plaintiffs filed their renewed request for evidentiary

  sanctions under Rule 37 of the Federal Rules of Civil Procedure against Defendant Elliott Kline,

  ECF No. 601 (“Sanctions Motion” or “Sanctions Mot.”), the Court has twice found that Kline

  remains in civil contempt and subjected him to a number of escalating sanctions, including $5,800

  in fines payable to Plaintiffs and ultimately incarceration for his continued refusal to provide

  Plaintiffs the evidence to which they are entitled. Furthermore, as Plaintiffs have made the Court

  aware, Plaintiffs discovered that despite these sanctions, Kline has continued to deceitfully

  withhold evidence from Plaintiffs and lie to the Court about it. See Pls.’ Resp., Jan. 8, 2020, ECF

  No. 631 (identifying evidence showing that previously undisclosed email account

  CvilleReports@gmail.com is registered to Kline). Kline’s conduct provides further support for

  Plaintiffs’ motion. And, in keeping with his two-year practice of refusing to meaningfully

  participate in this litigation, Kline has filed no opposition to the Sanctions Motion.

         In contrast to Kline’s silence, Defendant Christopher Cantwell filed a rambling 103-page

  submission ostensibly responding to the Sanctions Motion. Obj. to Pls.’ Mot. for Evidentiary

  Sanctions, Jan. 21, 2020, ECF No. 637 (“Cantwell Opp.”). In addition to conceding that he does

  not “mak[e] a legal argument,” Cantwell Opp. 1, Cantwell’s submission predominantly provides

  a lengthy and meandering recitation of his version of the “facts” and cites Adolf Hitler in support

  of his wild accusations that Plaintiffs have somehow engaged in a conspiracy of their own by

  instituting this litigation, id. at 35–37.1   Cantwell’s opposition spends scant space actually


         1
            Cantwell’s submission, which focuses almost exclusively on his views of the veracity of
  the allegations made in Plaintiffs’ Complaint, “moves that this suit be dismissed with prejudice,
  or at least that he be dismissed from it.” Cantwell Opp. 2. Putting aside that Cantwell’s “motion”
  is embedded within his opposition to the Sanctions Motion, any motion to dismiss filed by
  Cantwell should be denied under the law-of-the-case doctrine and as untimely. “[W]hen a rule of
  law has been decided adversely to one or more codefendants, the law of the case doctrine precludes
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  opposing the Sanctions Motion. Nonetheless, the few arguments he has raised are no bar to the

  evidentiary sanctions requested by Plaintiffs.

                                            ARGUMENT

  I.     Plaintiffs Are Entitled to Evidentiary Sanctions against Kline

         Over the course of the past two years, Kline has ignored his discovery obligations, withheld

  from Plaintiffs vital evidence, seemingly lied under oath about that evidence on multiple occasions,

  failed to preserve his communications with other Defendants, and failed to preserve relevant

  devices. Kline’s actions have ensured that Plaintiffs will be left with an evidentiary gap from one

  of the most critical members of the conspiracy. There can be no doubt that severe evidentiary

  sanctions are warranted under these circumstances. See Butler v. DirectSat USA, LLC, No. 10-

  CV-2747, 2013 WL 6629240, at *1 (D. Md. Dec. 16, 2013) (“A party’s total failure to comply

  with the mandates of discovery, with no explanation for that failure, can certainly justify” even the

  “harshest of sanctions”); Nucor Corp. v. Bell, 251 F.R.D. 191, 194 (D.S.C. 2008) (“harsher

  sanctions” are permitted where “the spoliation was so prejudicial that it prevents the non-spoliating

  party from maintaining his case”).

         In their opening brief, Plaintiffs explained that Kline’s utter failure to comply with

  discovery obligations, more than two years after this case was filed, alone warrants evidentiary

  sanctions, especially an adverse inference instruction. Sanctions Mot. 6, 21–22. But Plaintiffs



  all other codefendants from relitigating the legal issue.” United States v. Aramony, 166 F.3d 655,
  661 (4th Cir. 1999). Here, Cantwell’s first motion to dismiss, filed by his attorneys when he was
  represented, was denied by the Court. See Mem. Op., July 9, 2018, ECF No. 335. Although a
  court has the power to revisit prior decisions of its own, as a rule courts should be loath to do so
  in the absence of extraordinary circumstances, and Cantwell has not attempted to show that any
  such exception applies. In addition, the deadline to file a motion to dismiss was January 26,
  2018—two years ago. Order, Jan. 18, 2018, ECF No. 187. Plaintiffs do not respond further to
  Cantwell’s off-topic arguments but reserve the right to do so if Cantwell makes a proper motion
  and at the appropriate time under the Court’s scheduling order.


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  also noted that the record and evidence in the case have made clear that, even if Kline were to

  suddenly begin cooperating in full, Plaintiffs are extremely unlikely ever to obtain anywhere close

  to full discovery of Kline’s critical documents and communications. Id. at 6. Plaintiffs extensively

  detailed Kline’s failure to preserve evidence from one of his primary email accounts, his failure to

  preserve his personal computer, his failure to preserve his personal Discord messages, his failure

  to preserve all of the content from his social media accounts as the result of his use of burner email

  addresses, and his potential use of a telephone number that Kline continues to disclaim. Id. at 6–

  12. After laying out the facts of Kline’s misconduct, Plaintiffs expressed their concern that Kline

  would continue to withhold documents and devices crucial to this litigation. Id. at 18. That fear

  has proven to be prescient.

         On January 6, 2020, Plaintiffs notified the Court that they had discovered the existence of

  a fifth email address used by Kline—CvilleReports@gmail.com—that Kline had not disclosed and

  that Plaintiffs only recently discovered. Pls.’ Supp. Br., Jan. 6, 2020, ECF No. 615. Kline used

  this email address to communicate regarding Unite the Right, including to actively solicit evidence

  responsive to Plaintiffs’ discovery requests. Id. Despite Kline’s protestations under oath during

  the January 6, 2020, hearing held by the Court and in his sworn written submission dated January

  7, 2020, ECF No. 625, Plaintiffs produced to the Court compelling evidence that Kline was lying

  under oath when he strenuously denied knowledge of the existence of this highly relevant email

  account. See Pls.’ Resp., ECF No. 631. Plaintiffs discovered that the email address was indeed

  Kline’s account: it was registered to his admitted alias, it was associated with his telephone

  number, and it was associated with one of his primary email accounts. Id. at 2–3. Since January

  8, 2020, when Plaintiffs disclosed this information to the Court, Kline has again gone silent,




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  refusing to provide his credentials to this email account or respond in any way to Plaintiffs’

  evidence.

         Rule 37 expressly provides for evidentiary sanctions that will remedy the substantial

  prejudice Plaintiffs have suffered because of Kline’s actions. See Fed. R. Civ. P. 37(b)(2)(A)(i)–

  (ii). As Plaintiffs noted in their opening brief, Plaintiffs have readily met the Rule 37 factors for

  imposing evidentiary sanctions, including an adverse inference instruction. The Court has already

  found that Kline’s actions amount to bad faith and that Plaintiffs have suffered harm. See Order

  Finding Elliott Kline in Civil Contempt 9–12, Nov. 27, 2019, ECF No. 599. Plaintiffs have

  explained numerous times that evidentiary sanctions, particularly an adverse inference instruction,

  are warranted here to deter other Defendants from following in Kline’s footsteps. Sanctions Mot.

  19. Finally, at this point, it could not be clearer that no less drastic sanctions would be effective.

  Indeed, the Court has already subjected Kline to a number of escalating sanctions, including $5,800

  in fines and over 48 hours spent incarcerated in a local jail. These sanctions have had zero effect

  on Kline’s willingness to engage in this litigation. Since being released from jail, Kline has failed

  to provide credentials to the CvilleReports@gmail.com account to which Plaintiffs irrefutably

  connected him, refused to answer email communications from the third-party discovery vendor,

  and failed to file a responsive submission to two separate filings by Plaintiffs. Absolutely nothing

  in the history of this case provides any assurance that a less severe sanction will fill the evidentiary

  gap left by Kline’s outrageous conduct.

  II.    Cantwell’s Objections to Plaintiffs’ Requested Evidentiary Sanctions against Kline
         Should Be Rejected

         Cantwell’s opposition seems to demonstrate a fundamental misunderstanding of the

  requests that Plaintiffs made in the Sanctions Motion. To be clear, Plaintiffs do not believe that




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  Cantwell (or any other Defendant) should be punished for Kline’s non-compliance. And the

  sanctions sought against Kline do not punish Cantwell or hamper his ability to defend himself.

         A.      The Requested Evidentiary Sanctions Do Not Hinder Cantwell’s Ability to
                 Defend Himself

         To the extent that Cantwell is concerned that the sanctions Plaintiffs have sought against

  Kline would apply to him, he is wrong. The requested sanctions are each limited by their terms to

  apply exclusively to Kline. And Plaintiffs have not sought any Court-imposed fact or inference

  that suggests that Cantwell has any involvement with Kline’s behavior.

         As the Court has ruled, to hold any Defendant liable for conspiracy, Plaintiffs must prove

  that “each Defendant entered into an agreement with a specific co-conspirator to engage in racially

  motivated violence at the August 11th and 12th events.” Mem. Op. 21, Jul. 9, 2018, ECF No. 335

  (emphasis added). To the extent it is established—either through the presentation of evidence or

  by Court-imposed sanction—that Kline agreed to commit racially motivated violence with one or

  more co-conspirators and withheld evidence that he did so, those particular facts have no impact

  on whether Cantwell—or any other Defendant—entered into, or had any involvement with, any

  such agreement. Nothing about the requested sanctions hinders Cantwell’s ability to elicit facts or

  make arguments that he had nothing to do with any such agreement or any other behavior that

  resulted in the violence that occurred in Charlottesville. The sanctions Plaintiffs seek against Kline

  do not implicate Cantwell or punish him in any way.

         To the extent that Cantwell believes that the requested facts and inferences would impact

  him inferentially through some sort of spillover effect from the requested sanctions, his belief

  provides no legal basis to refrain from imposing sanctions otherwise duly earned by Kline. The

  court considered, and rejected, an identical argument in Flagg v. City of Detroit, No. 05-cv-74253,

  2011 WL 4634245 (E.D. Mich. Oct. 5, 2011), aff’d, 715 F.3d 165 (6th Cir. 2013). In Flagg, the



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  court imposed an adverse inference on one of the defendants in a multi-defendant case for

  destroying certain documents in discovery. Another co-defendant, who did not participate in the

  document destruction that led to the imposition of sanctions, objected, claiming that “any adverse

  inference against the [other co-defendant] will unfairly prejudice him as a codefendant at a joint

  trial.” Id. at *1. Specifically, the non-spoliating co-defendant argued that “it would be unfairly

  prejudicial if the trier of fact were permitted to draw inferences against him based on the absence

  of e-mails from the relevant period.” Id. at *7. The Court disagreed:

                 Surely, the Court is not powerless to sanction a defendant for its
                 destruction of evidence, just because this sanction might have a
                 prejudicial “spillover” effect upon a co-defendant. There are all
                 manner of mechanisms . . . that are available to alleviate this possible
                 prejudice.

  Id. (emphasis added).

         If Cantwell were correct, courts could never impose evidentiary sanctions against a single

  defendant in a multi-defendant case. To the contrary, these sanctions are specifically contemplated

  by Rule 37 and imposed in precisely these scenarios. See, e.g., Doug’s Word Clocks.com Pty Ltd.

  v. Princess Int’l, Inc., 323 F.R.D. 167, 175 (S.D.N.Y. 2017) (deeming facts established as to subset

  of defendants as discovery sanction); Cytec Carbon Fibers LLC v. Hopkins, No. 2:11-cv-0217,

  2012 WL 6044778, at *1–4 (D.S.C. Oct. 22, 2012) (imposing sanctions against subset of

  defendants in civil RICO conspiracy case for spoliating evidence), report and recommendation

  adopted, No. 2:11-cv-0217, 2012 WL 6050595 (D.S.C. Dec. 5, 2012); Ratesi v. Sun State Trees &

  Prop. Maint., Inc., No. 6:05-cv-1825, 2007 WL 2566037, at *3 (M.D. Fla. Aug. 31, 2007)

  (imposing adverse inference instruction as sanction for discovery violation against single non-

  compliant defendant in multi-defendant case); Black v. Sheraton Corp., 371 F. Supp. 97, 102




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   (D.D.C. 1974) (in action against government and private parties, deeming facts established as

   sanction against government for improperly raising claim of executive privilege).

          B.      A Limiting Instruction Is Sufficient to Cure Any Potential Spillover Effect

          Notwithstanding that Plaintiffs’ requested sanctions do not implicate Cantwell, to the

   extent that any lingering concern remains as to potential spillover effects as to other Defendants,

   the appropriate mechanism to cure any such effect is to issue a limiting instruction. Courts are not

   required to issue limiting instructions upon giving adverse inferences, but may find limiting

   instructions to be a satisfactory cure where potential spillover prejudice from damaging evidence

   admitted against co-conspirators may exist. See, e.g., United States v. Osuji, 413 F. App’x 603

   (4th Cir. 2011); Flagg, 2011 WL 4634245, at *7 (identifying limiting instructions as one of several

   alternatives for alleviating possible prejudice from adverse inferences). In Osuji, a criminal

   conspiracy case, the government called an unindicted co-conspirator to the witness stand to assert

   her Fifth Amendment privilege in front of the jury, imposing arguably far more damaging

   inferences on the defendant co-conspirators in that case than Plaintiffs request here.           The

   defendants objected, arguing “that the inferences that the jury could have drawn from [the

   unindicted co-conspirator’s] invocation of her Fifth Amendment privilege added critical weight to

   the prosecution’s case.” 413 F. App’x at 610. The Fourth Circuit rejected that argument, noting

   the district court “instructed the jury not to draw any inferences from [the unindicted co-

   conspirator’s] invocation of her Fifth Amendment privilege. We presume that the jury followed

   that instruction and hold that the instruction sufficiently cured any potential error in allowing [the

   unindicted co-conspirator] to invoke her privilege before the jury.” Id. (internal citation omitted).

          Similarly, here, to the extent there is any concern that the requested sanctions might impose

   any prejudicial inferences on any other Defendant, a limiting instruction sufficiently cures any

   such prejudice. Applying the requested sanctions with an appropriate limiting instruction is the


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   best way to remedy the substantial prejudice Plaintiffs have suffered from Kline’s discovery

   misconduct, without impeding the other Defendants’ abilities to defend themselves.

          Cantwell has no more basis to object to these facts coming in through Court-imposed

   sanctions than he would if they were introduced at trial through Kline himself. Evidence of one

   co-conspirator’s acts or declarations may be admissible in a trial with multiple defendant co-

   conspirators, even if such acts or declarations were made in the absence of the other co-

   conspirators, as proof of a single individual’s participation in the conspiracy. See Lutwak v. United

   States, 344 U.S. 604, 618 (1953). Indeed, one co-conspirator’s out-of-court declaration may be

   admissible as direct evidence against his other co-conspirators, if his statements were made

   “during the course and in furtherance of the conspiracy.” Bourjaily v. United States, 483 U.S. 171,

   175 (1987) (citation and internal quotation marks omitted); see Fed. R. Evid. 801(d)(2)(E).

   Evidence that Kline participated in a racially motivated conspiracy, for example, is not something

   that Cantwell could keep from the jury simply because he believes such facts would be damaging

   to his defense.

          While it may be preferable that a jury hear that evidence through Kline rather than through

   Court-imposed adverse inferences and other sanctions, Kline’s willful disobedience has deprived

   the parties of that possibility. Indeed, Rule 37 expressly allows a Court to deem certain facts

   established as a sanction, so long as those facts are otherwise admissible and relevant, which the

   requested sanctions are in this case. Cantwell makes no claim that such facts are irrelevant or

   inadmissible on any other grounds. The requested sanctions simply ensure that Plaintiffs are not

   prejudiced by Kline’s egregious misconduct, and the incidental impact that may have on other

   Defendants can be addressed, if necessary, through limiting instructions.




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          C.      A Default Judgment Alone Does Not Remedy the Full Extent of the Prejudice
                  Suffered By Plaintiffs and Provides a Windfall to Defendants

          Cantwell suggests that “it may be a more reasonable measure to enter a verdict of Default

   against Kline.” Cantwell Opp. 2. However, a default judgment by itself is insufficient to remedy

   the harm caused by Kline’s failure to preserve his documents and his refusal to participate in

   discovery in good faith, and provides a windfall to the other Defendants, because it effectively

   allows Kline to walk away without giving Plaintiffs his evidence.

          As discussed in the Sanctions Motion, Kline played a central role in this conspiracy.

   Sanctions Mot. 2–5. Kline has withheld evidence that will be more difficult to place before the

   jury if he is simply defaulted from the case without a mechanism for Plaintiffs to introduce any of

   his evidence. In that sense, a default would amount to a windfall for the rest of the Defendants

   and would seriously prejudice Plaintiffs. Kline testified that he communicated with Defendant

   Cantwell during the Unite the Right event, Dep. of Elliott Kline (“Kline Dep.”) at 85–87, 89, Aug.

   7, 2019, ECF No. 566-3, and Defendant Cantwell has admitted that “[p]reparatory to

   Charlottesville, [he] spoke to . . . Eli Moseley [sic] aka Elliott Kline,” Disc. Resp. of Def. Cantwell

   at 2, ECF No. 475-5. Kline has admitted to communicating regularly with Defendant Kessler

   during the planning stages of the Unite the Right event. Kline Dep. 76–77, Aug. 7, 2019, ECF No.

   601-1. Kline also testified to having planning calls and other communications with Defendant

   Heimbach, Kline Dep. 88, ECF No. 566-3; Kline Dep. 76–77, ECF No. 601-1, with whom

   Defendants Schoep, National Socialist Movement (“NSM”), and Traditionalist Worker Party

   (“TWP”) also communicated regarding Unite the Right. Disc. Resps. for Defs. Schoep, NSM, and

   TWP. ECF Nos. 475-4, 475-7, 475-8. In fact, most of the Defendants, including Defendants

   Spencer, Ray, Kessler, and Damigo, admit to communicating with Kline concerning the events in

   Charlottesville. Disc. Resp. for Defs. Spencer, Ray, Kessler, Cantwell, and Damigo, ECF Nos.



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   475-1, 475-2, 475-3, 475-5, 475-6. Defendant Identity Evropa admits that Kline managed Identity

   Evropa’s presence and communications in Charlottesville. Def. Identity Evropa’s Resps. to [Pls.’]

   First Set of Interrogs. and Reqs. for Produc. of Docs. 2, ECF No. 475-9 (“Eli Mosley aka Elliott

   Kline handled IE’s . . . presence in Charlottesville” and “Mr. Mosley’s communication devices”

   were used to communicate about the events). If the jury is shielded from evidence of Kline’s

   participation, Plaintiffs will be hindered in their ability to illuminate the full scope of the

   conspiracy. Plaintiffs would essentially be forced to prove a conspiracy without being able to

   present evidence of what one of the two primary ringleaders of the conspiracy did and said. Rule

   37 allows for evidentiary sanctions precisely so that defendants like Kline cannot whitewash a trial

   from evidence of their participation.

                                            CONCLUSION

          Plaintiffs respectfully request that the Court grant the Sanctions Motion.



    Dated: January 28, 2020                           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 28, 2020, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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          I further hereby certify that on January 28, 2020, I also served the following non-ECF
   participants, via electronic mail, as follows:

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